Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 1 of 15

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA,
DECISION AND ORDER
6:14-CR-()6181 EAW
MATTHEW NIX and EARL MCCOY,

Defendants.

 

I. Introduction

Presently before the Court is a motion filed by defendants Earl McCoy (“McCoy”)
and Matthew Nix (collectively, “Defendants”) seeking reconsideration of the Court’s
Decision and Order, dated August 24, 2017, in which the Court denied Defendants’
motions for a new trial, pursuant to Fed. R. Crim. P. 33, to the extent that those motions
were based on Juror No. 3’s alleged bias. (See Dkt. 385-1). Defendants request a new
evidentiary hearing concerning Juror No. 3’s qualifications to serve on the jury, recusal of
the undersigned, and assignment of new counsel for purposes of the evidentiary hearing.
(See l`a’.).

Defendants’ motion is based upon a flawed understanding of the facts and law, and
represents a fundamental misapprehension of the Court’s role in adjudicating their initial
Rule 33 motion directed to Juror No. 3’s alleged bias. Not surprisingly, Defendants
disagree with the Court’s decision. However, those disagreements should be pursued on

appeal, not through motion practice that, at bottom, seeks to obtain a more favorable ruling

_1-

Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 2 of 15

on the issue of Juror No. 3’s alleged bias. For the reasons set forth below, Defendants’
motion is denied in its entirety.
lI. Background

The facts relevant to the issue of Juror No. 3’s alleged bias are set forth in detail in
the Court’s prior Decision and Order, with which familiarity is assumed. (See Dkt. 382).
The Court provides only a summary of those facts, as well as additional background
information as relevant to this motion.

In brief, Juror No. 3, an African American male, was the sixth prospective juror
called by the Court’s deputy clerk during jury selection on February 13, 2017. (Dkt. 328
at 29). To accommodate the panel of 36 prospective jurors, a row of additional freestanding
chairs was placed in front of the jury box in the courtroom. Juror No. 3 was seated in that
front row outside the jury box, in the sixth seat of the panel of 36. (See id.). Juror No. 3 is
a convicted felon, but he failed to disclose his criminal history during jury selection. After
announcing the members of the jury and alternate jurors, the Court asked all selected jurors
to remain where they were seated. (Id. at 278). Thus, at the close of jury selection, Juror
No. 3 remained in the sixth seat in the front row outside of the jury box.

Juror No. 3’s felon status was discovered only after the verdict. Defendants both
moved for a new trial pursuant to Fed. R. Crim. P. 33 and argued, inter alia, that Juror No.
3’s felon status destroyed the impartiality of the jury. (Dkt. 286; Dkt. 289).

At an initial appearance regarding Defendants’ post-verdict motions on May 15,
2017, the Court concluded that it must hold an evidentiary hearing concerning Juror No.

3’s qualifications to serve on the jury. (See Dkt. 327). At that appearance, the Court

_2-

Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 3 of 15

explained that it would have to make a determination regarding Juror No. 3’s credibility.
(Id. at 30-31). In response, AUSA Rodriguez contended that “this was a juror who wasn’t
dying to be on th[e] jury,” and the Court agreed, stating that it had the same recollection.
(Ia'. at 31). AUSA Rodriguez then commented as follows:

When your Honor was asking about possible conflicts, he pointed out having

his business interrupted, and, as I recall, your Honor had him actually check

during the break. And then for purposes of the record, l don’t know that it

actually made it on the record, I am hoping counsel won’t dispute this, after

the jury got picked, they’re seated in the box and your Honor is giving them,

now, it’s like 5:30, close to 6, your Honor is giving them a little bit of

preliminary instructions, that juror got up and walked out before your Honor

was even done giving instructions, which again, suggested that he was not

happy about being on the jury and that is one of the issues that your Honor is

going to-that we Would submit to your Honor.
(Ia’. at 31-32). Defense counsel did not dispute AUSA Rodriguez’s description of Juror
No. 3’s departure from the courtroom on the day of jury selection.

The Court held an evidentiary hearing on June 12 and 14, 2017, during which Juror
No. 3 testified, confirmed his felon status, and was examined by the Court and counsel.
(Dkt. 348; Dkt. 353). On August 24, 2017, after the parties had filed post-hearing
submissions (Dkt. 363; Dkt. 369; Dkt. 370; Dkt. 371 ; Dkt. 372), the Court issued a Decision
and Order denying Defendants’ Rule 33 motions to the extent that those motions were
based upon Juror No. 3’s alleged bias. (Dkt. 382).

On August 30, 2017, the Court received an emailed letter from counsel for McCoy
in which counsel requested, inter alia, “leave to make a motion to vacate the Decision and

Order and request that the matter be set down before a different judge for a new fact finding

hearing.” That day, the Court issued a Text Order directing any party seeking affirmative

_3_

Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 4 of 15

relief to file a formal motion, as the Court would not respond to emails or letter requests
for affirmative relief. (Dkt. 384).

On September 1, 2017, Defendants filed the instant motion,l (Dkt. 385). The
Govemment filed a response in opposition to the motion on September 20, 2017 (Dkt. 392),
and the motion was deemed submitted without oral argument (Dkt. 386).

III. Standard of Review

Defendants’ motion papers lack any identified legal basis for their requested relief.
(See Dkt. 385-l). Given that Defendants seek relief from the Court’s Decision and Order,
the Court construes the motion as one for reconsideration

Although the Federal Rules of Criminal Procedure do not specifically recognize
motions for reconsideration, such motions “have traditionally been allowed Within the
Second Circuit.” Um'tea’ States v. Yannottz`, 457 F. Supp. 2d 385, 388 (S.D.N.Y. 2006).
District courts “have applied the applicable civil standard to such motions in criminal
cases.” Um'tea' States v. Larson, No. 07-CR-304S, 2013 WL 6196292, at *2 (W.D.N.Y.
Nov. 27, 2013).

The standard for granting . . . a motion [for reconsideration] is strict, and

reconsideration will generally be denied unless the moving party can point

to controlling decisions or data that the court overlooked_matters, in other

words, that might reasonably be expected to alter the conclusion reached by
the court.

 

l Defendants’ motion also requested adjournment of Defendants’ sentencing, a
request which has been granted. (Dkt. 385-1 at 11 11; Dkt. 386). Sentencing is now
scheduled for September 29, 2017. (Dkt. 386).

_4-

Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 5 of 15

Shraa'er v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). Common grounds for
reconsideration include “an intervening change of controlling law, the availability of new
evidence, or the need to correct a clear error or prevent manifest injustice.” Virgz`n Atl.
Az'rways, Ltd. v. Nat ’l Mea’iation Bd., 956 F.2d 1245, 1255 (2d Cir. 1992) (citation omitted).
“These criteria are strictly construed against the moving party so as to avoid repetitive
arguments on issues that have been considered fully by the court.” Boyde v. Osborne, No.
lO-CV-6651, 2013 WL 6662862, at *l (W.D.N.Y. Dec. 16, 2013) (quoting Griffin Indus.,
Inc. v. Petrojam, Lta’., 72 F. Supp. 2d 365, 368 (S.D.N.Y. 1999)).

“[A] motion to reconsider should not be granted where the moving party seeks
solely to relitigate an issue already decided.” Shrader, 70 F.3d at 257; see also Davz`dson
v. Scully, 172 F. Supp. 2d 458, 461 (S.D.N.Y. 2001) (“A motion for reconsideration may
not be used to advance new facts, issues or arguments not previously presented to the Court,
nor may it be used as a vehicle for relitigating issues already decided by the Court.”). The
decision to grant or deny a motion for reconsideration is within “the sound discretion of
the district court. . . .” Aczel v. Labom`a, 584 F.3d 52, 61 (2d Cir. 2009) (citation omitted).
Above all, “[r]econsideration of a court’s previous order is an ‘extraordinary remedy to be
employed sparingly in the interests of finality and conservation of scarce judicial
resources.”’ Parrish v. Sollecito, 253 F. Supp. 2d 713, 715 (S.D.N.Y. 2003) (quoting In re
Health Mgmt. Sys. Inc. Secs. Lilig., 113 F. Supp. 2d 613, 614 (S.D.N.Y. 2000)).

IV. Reconsideration is Not Warranted

 

Defendants take issue with a specific portion of the Court’s Decision and Order, in

which the Court set forth the following observation:

_5_

Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 6 of 15

During the jury selection, Juror No. 3 was frustrated with the Court about the

length of the proceedings (see Dkt. 359 at 23 8-39), and in fact, once selected

to serve, he left the courtroom as the Court was still informing the jurors

about some housekeeping matters (see Dkt. 327 at 32).
(Dkt. 382 at 55). Defendants question whether Juror No. 3 did, in fact, leave the courtroom
as the Court observed, stating that “[a]t no time did Mr. Rodriguez or anyone else make a
record of witnessing this event prior to May 15, 2017” (Dkt. 385-1 at 11 4), when the Court
held an initial appearance regarding the parties’ post-verdict motions. Defendants argue
that, “at the time Mr. Rodriguez made this comment, neither [the] Court nor counsel
specifically agreed with it, or expressed disagreement with it,” and that “it would seem
unusual for an event like this to happen without the Court admonishing the juror or making
a record of this alleged incident.” (Ia'.). As a result, in Defendants’ view, “it appears the
Court did not so observe” the incident. (Ia'.). Defendants also doubt whether Juror No. 3
left the courtroom in this manner because defense counsel do not recall it happening (Ia’.
at 11 5). Defendants maintain that they would have remembered the incident based on their
recollection that Juror No. 3 “was sitting near the inside of the row and in order to stage
this walkout from the courtroom, he would have had to have gotten up and stepped over
four other jurors to do so.” (Id. ). As discussed below, Defendants’ challenge to this portion
of the Decision and Order is both factually incorrect and without a basis in the law.

To be clear, the undersigned did observe Juror No. 3 leave the courtroom while
jurors were still being informed about housekeeping matters, independently of AUSA

Rodriguez’s observation and later summary of the same incident. Regrettably, the

transcript contains no record of Juror No. 3’s departure. The undersigned’s recollection is

_6_

Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 7 of 15

that this occurred at the tail end of the proceedings, after the formal admonitions had been
provided to the jurors, but while jurors were asking questions concerning housekeeping
matters. At the time, the undersigned was already aware of Juror No. 3’s anxiousness to
leave because, earlier that day, Juror No. 3 had approached the undersigned during a break,
asked what time the proceedings would end, and expressed frustration when the Court
responded that the proceedings would end at approximately 6:00 PM. (Dkt. 328 at 32 (the
Court recalling, during the appearance on May 15, 2017, that “at one break when we were
going late, [Juror No. 3] came up to me and wanted to know how late we were going and l
think I told him 6 o’clock and he was angry”); Dkt. 359 at 238-39 (the Court recalling,
during evidentiary hearing, Juror No. 3’s frustration about being kept late)). Again,
although the transcript contains no record of Juror No. 3’s departure, the undersigned has
an independent recollection of the incident. In fact, to be clear, the undersigned specifically
recalls all the references to Juror No. 3’s behavior during jury selection and the trial as set
forth in the prior Decision and Order (Dkt. 382 at 5-6, 55-56, 61), separate and apart from
any independent record contained in any of the transcripts

Because the trial transcript contains no reference to Juror No. 3’s departure on the
date of jury selection, the Court’s Decision and Order cited to the transcript of the
appearance on May 15, 2017, which reflects AUSA Rodriguez’s description of the
incident:

And then for purposes of the record, I don’t know that it actually made it on

the record, 1 arn hoping counsel won’t dispute this, after the jury got picked,

they’re seated in the box and your Honor is giving them, now, it’s like 5:30,

close to 6, your Honor is giving them a little bit of preliminary instructions,
that juror got up and walked out before your Honor was even done giving

_7-

Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 8 of 15

instructions, which again, suggested that he was not happy about being on

the jury and that is one of the issues that your Honor is going to_that We

would submit to your Honor.
(Dkt. 327 at 31-32). AUSA Rodriguez’s statement was cited as support for the Court’s
own observation, and it is entirely consistent with the Court’s recollection. lt was not cited
as independent proof of the incident.2

Further, Defendants’ incorrect assertion that Juror No. 3 would have had to climb
over four other jurors is based on an erroneous recollection of the jurors’ seating
arrangements at the end of jury selection. When the Court announced the jury, the jurors
remained where they had been seated in the 36-person panel. In other words, the Court did
not instruct the jurors to sit in the l4-person jury box as they would throughout the trial; it
was not until the next day that the jurors took their seats in the correct order within the jury
box. After announcing the jury and alternates, the Court stated, “If your name was not
called, you are free to go with my thanks and appreciation If your name was called, I just
ask that you stay where you’re seated.” (Dkt. 328 at 278). At that time, Juror No. 3 was
seated in the front row outside of the jury box, in the sixth seat of the 36-person panel.
From that position, Juror No. 3 had an easy means of egress. Thus, Defendants’ assertion

that Juror No. 3 must have “stepped over four other jurors,” resulting in some sort of

commotion that defense counsel surely would have remembered, is just wrong.

 

2 The Court’s citation of the May 15, 2017, transcript was preceded by a “see” signal.
For the uninitiated, a “see” signal “is used instead of ‘[no signal]’ when the proposition is
not directly stated by the cited authority but obviously follows from it; there is an inferential
step between the authority cited and the proposition it supports.” T he Bluebook.' A Uniform
System of Citatz`on R. 1.2(a), at 58 (Columbia Law Review Ass’n et al., eds., 20th ed. 2015).

_3_

Case 6:14-cr-06181-EAW-|\/|WP Document 394 Filed 09/25/17 Page 9 of 15

The Court is hard-pressed to credit the notion that defense counsel were somehow
blindsided by the idea that the Court would consider its own observations in its ruling (see
Dkt. 385-1 at 11 6 (arguing that “[t]he Court never indicated that it would be considering
the juror’s facial expressions, rolling of eyes, etc. in determine [sic] the issues at the
hearing”)), when those observations were mentioned at the appearance on May 15, 2017_
before the evidentiary hearing took place_during a discussion of the credibility
determination that the Court would have to make. (Dkt. 327 at 30).

Moreover, Defendants’ challenge to the Court’s reliance on its observations of Juror
No. 3 ’s behavior during voir dire is legally baseless. Defendants point to no case law that
holds that, when considering the question of whether a juror was biased, a Court is
constrained to the evidence adduced at a post-verdict evidentiary hearing and may not rely
on its own observations of the juror’s behavior and demeanor during the voir dire, the trial,
or at other points outside of the evidentiary hearing. (See Dkt. 385-l). Indeed, the relevant
cases undermine Defendants’ position.

For example, in Urzited States v. Greer, 285 F.3d 158 (2d Cir. 2002), the Second
Circuit concluded that the district court did not abuse its discretion in finding no actual bias
on the part of a juror who failed to disclose certain information during jury selection, Id.
at 171. The Second Circuit noted that the district court’s finding was based upon its
“evaluation of the testimony at trial and the post-trial evidentiary hearing.” Id. The Second
Circuit explained that deference to a district court’s determination regarding actual bias is
warranted because “[t]he district court, which observ[es] the jury on a day to day basis . . .

is in the best position to sense the atmosphere of the courtroom as no appellate court can

_9_

Case 6:14-cr-06181-EAW-I\/|WP Document 394 Filed 09/25/17 Page 10 of 15

on a printed record.” Id. (quoting United States v. Abrams, 137 F.3d 704, 708 (2d Cir.
1998)). In rendering its decision, the district court applied the relevant test set forth in
McDonough Power Equipment, Inc. v. Greenwood, 464 U.S. 548 (1984), but suggested
that, in reaching its conclusion, it was not confined to the evidence adduced at the post-
trial evidentiary hearing:

The investigation of juror bias or extrinsic evidence is governed by a variety

of court-defined procedures and tests. It must not be forgotten, however, that

the overarching purpose of either inquiry is to ascertain whether the case was

fairly tried to an impartial jury. The Court has had an opportunity to observe

these jurors both at the posttrial hearing and during the course of a

complicated ten-week trial.
Uriited Staies v. Greer, 998 F. Supp. 399, 405 (D. Vt. 1998) (emphasis added). In support
of its finding that the challenged juror was not biased against the defendants, the district
court stated that it had “observed [the challenged juror] both at th[e post-trial] hearing and
during an extended trial. . . .” Id. at 407. This suggests that a district court is plainly not
constrained to the record adduced at the evidentiary hearing. Like the district court in
Greer, this Court had an opportunity to observe Juror No. 3 over the course of a five-week
trial, as well as during the evidentiary hearing, and there is no reason to conclude that the
Court was required to disregard its pre-evidentiary hearing observations of Juror No. 3
when evaluating his alleged bias.

Moreover, a district court may consider a juror’s demeanor and credibility when
ruling on for-cause challenges to a prospective juror. In Um'ied States v. Torres, 128 F.3d

38 (2d Cir. 1997), the Second Circuit concluded that the district court had properly

exercised its discretion to excuse a prospective juror, who had engaged in criminal conduct

-10-'

Case 6:14-cr-06181-EAW-I\/|WP Document 394 Filed 09/25/17 Page 11 of 15

similar to the crimes on trial, before trial. Id. at 45. The Second Circuit observed that
“[t]he trial judge has . . . broad discretion [in its rulings on challenges for cause] because a
finding of actual bias ‘is based upon determinations of demeanor and credibility that are
peculiarly within a trial judge’s province.”’ Id. at 44 (emphasis added) (quoting
Wainwrighi v. Witi, 469 U.S. 412, 428 (1985)). The Second Circuit further explained that,
“[g]iven the special capacity of the trial judge to evaluate actual bias on the part of
prospective jurors, that judge’s determination in this regard is accorded great deference,
since ‘an appellate court [cannot] easily second-guess the conclusions of the decisionmaker
who heard and observed the witnesses.”’ Id. (quoting Rosales-Lopez v. United States, 451
U.S. 182, 188 (1981)); accord United States v. Ploof 464 F.2d 116, 118 (2d Cir. 1972)
(“[T]he judge was in the best position to evaluate the juror’s demeanor and to determine,
by the juror’s answers to the judge’s questions, whether he could fairly and impartially hear
the case and return a verdict based solely on the evidence presented in court.”). If the
district court properly considers a prospective juror’s demeanor and credibility during jury
selection when making its rulings on a challenge for cause, it follows that a court is also
able to do so when considering juror bias after the trial.

Equally as flawed is Defendants’ contention that the Court was “acting as a witness”
by noting its observation of Juror No. 3’s conduct during the trial, in violation of Federal
Rule of Evidence 605. Rule 605 provides that “[t]he presiding judge may not testify as a
witness at the trial. A party need not object to preserve the issue.” Fed. R. Evid. 605. This
Court did not violate Rule 605. In Defendants’ own words, “the Court did not testify here.”

(Dkt. 385-1 at 11 7). Further, making a credibility determination based, in part, on

_11_

Case 6:14-cr-06181-EAW-I\/|WP Document 394 Filed 09/25/17 Page 12 of 15

observations of Juror No. 3’s behavior during jury selection and trial, does not transform
this Court into a witness; indeed, Defendants’ argument to the contrary reveals their
fundamental misunderstanding of the Court’s role. Rule 605 is violated in the following
circumstances: “Where the [judge’s] statement relates to facts that are within the power of
the jury to decide and the credibility of the judge has a bearing on the weight the jury is
likely to give to her statement, the statement functions like testimony and should be
prohibited.” 27 Charles A. Wright & Victor Gold, Federal Practice and Procedure.'
Evidence § 6063 (2d ed. 1990). No jury was to decide the issue of juror bias; rather, it was
up to the Court to resolve that question. Consistent with that responsibility, the Court
relied, in part, on its observations of Juror No. 3’s behavior and demeanor during the jury
selection and the trial, which, as discussed above, was permissible. Indeed, to conclude
that a judge improperly testifies in violation of Rule 605 when she makes a credibility
determination would be an absurd result and upend the well-established principle,
discussed above, that the trial court is best-suited to evaluate bias because it has heard and
observed prospective jurors,

Notably, Defendants’ motion for reconsideration fails to “point to controlling
decisions or data that the court overlooked-matters, in other words, that might reasonably
be expected to alter the conclusion reached by the court.” Shrader, 70 F.3d at 257. In
other words, even setting aside the issue of Juror No. 3’s behavior during jury selection
and the trial, the Court would still conclude that Juror No. 3 was not biased against
Defendants. The record is devoid of any proof that Juror No. 3 had “actual bias” against

Defendants or intentionally lied to smuggle his way onto the jury. There is still no fact in

_12_

Case 6:14-cr-06181-EAW-I\/|WP Document 394 Filed 09/25/17 Page 13 of 15

the record which, had it been elicited during jury selection, would have required the Court
to automatically assume Juror No. 3’s bias or prejudice against Defendants or in favor of
the Government. And there is still no reason to infer Juror No. 3’s bias, whether it be from
his decades-old criminal history, being a victim of a home robbery 20 years ago, or his
family members’ alleged criminal records; the Court has rejected the notion that bias must
be inferred from Juror No. 3’s undisclosed background Put simply, Juror No. 3’s behavior
during jury selection was just one consideration among many in the Court’s analysis of
whether he was biased; it was by no means dispositive of that issue, and, even excluding
any consideration of his behavior, the outcome would have been the same. Defendants
have not demonstrated why a different outcome is justified by an intervening change in
law, by new evidence that was not previously available, or because of a need to correct
clear error of law or prevent manifest injustice. Thus, the Court declines to grant the
“extraordinary remedy” of reconsideration, Parrish, 253 F. Supp. 2d at 715 (citation
omitted).

At bottom, Defendants’ motion largely seems to be an expression of their
dissatisfaction with the Court’s denial of their Rule 33 motions that were based on Juror
No. 3’s alleged bias, but “[a] motion for reconsideration is not a substitute for appeal. Nor
is it a second bite at the apple for a party dissatisfied with the court’s ruling.” McBeth v.
Gabrielli Truck Sales, Ltd., 768 F. Supp. 2d 392, 395 (E.D.N.Y. 2011) (citation and
alterations omitted). Defendants fail to meet the relevant standard for reconsideration, as
their motion is unadorned by any citations to case law that support their position or

entitlement to the requested relief.

_13_

Case 6:14-cr-06181-EAW-I\/|WP Document 394 Filed 09/25/17 Page 14 of 15

Because Defendants have failed to demonstrate that reconsideration of the Court’s
prior Decision and Order is warranted, the Court declines to consider Defendants’ requests
for additional relief: a new evidentiary hearing concerning Juror No. 3, recusal of the
undersigned, and assignment of new counsel for purposes of the evidentiary hearing. (See
Dkt. 385-l at 1111 9-10). All of those requests necessarily depend upon the Court granting
reconsideration of the Rule 33 motions concerning Juror No. 3’s alleged bias.
Nevertheless, because this is Defendants’ second request for recusal of the undersigned in
this case (see Dkt. 344 (denying motion for recusal)), the Court notes that the present
request for recusal lacks merit. Recusal is required under 28 U.S.C. § 455(b) in certain
circumstances, including, as relevant to Defendants’ motion (see Dkt. 385-l at 11 9 (citing
“personal knowledge” prong of § 455(b)(1)), where a judge has “a personal bias or
prejudice concerning a party, or personal knowledge of disputed evidentiary facts
concerning the proceeding.” 28 U.S.C. § 455(b)(1). But, as the Govemment rightly points
out, not all “personal knowledge” warrants disqualification (See Dkt. 392 at 2). Rather,
the term “personal” means “extrajudicial,” such that “[i]nformation or knowledge
possessed by a judge must stem from an extrajudicial source to warrant disqualification.”
United Staies v. Coven, 662 F.2d 162, 168 (2d Cir. 1981). In other words, “[k]nowledge
acquired by the judge while [s]he performs judicial duties does not constitute grounds for
disqualification.” Id.; accord Unitea' Siaies v. Siurgis, 667 F. App’x 347, 348 (2d Cir.
2016) (rejecting recusal argument based on extrajudicial limitation to § 455(b)(1) and
because the defendant pointed only to “information that exists in the public record or

knowledge that [the district court judge] . . . gained in his professional capacity”); Uniied

_14_

Case 6:14-cr-06181-EAW-I\/|WP Document 394 Filed 09/25/17 Page 15 of 15

States v. Sehgal, 480 F. App’x l6, 22 (2d Cir. 2012) (explaining that the personal
knowledge referenced in § 455(b)(1) applies to extrajudicial knowledge); United States v.
Carlton, 534 F.3d 97, 101 n.2 (2d Cir. 2008) (“[T]he term ‘personal’ in Section 455(b)(1)
means extrajudicial.” (citations omitted)). Because the Court’s knowledge of Juror No. 3’s
behavior and demeanor stemmed from events that occurred during the proceedings in this
case, it is not “extrajudicial” knowledge, and, therefore, recusal would not be required
under § 455(b)(l). In arguing otherwise, Defendants once again reveal their basic
misconception of the role of the Court.
V. Conclusion

For the reasons set forth above, the Court denies Defendants’ motion (Dkt. 385) in
its entirety.

SO ORDERED.

 

Dated: September 25, 2017
Rochester, New York

_15_

